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                         Exhibit B

                    Debtors’ Declaration
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :       Chapter 11
                                                             :
KABBAGE, INC. d/b/a KSERVICING, et al., :                            Case No. 22-10951 (CTG)
                                                             :
                                                             :
                        Debtors.1                            :       (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                   DECLARATION OF HOLLY LOISEAU IN SUPPORT
                  OF DEBTORS’ APPLICATION FOR AUTHORITY TO
               EMPLOY AND RETAIN JONES DAY AS SPECIAL COUNSEL
               TO THE DEBTORS EFFECTIVE AS OF THE PETITION DATE

                 Pursuant to Section D of the Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases, effective November 1, 2013 (the “U.S. Trustee Guidelines”), I,

Holly Loiseau, hereby declare, under penalty of perjury, as follows:

                 13.      I am older than 21 years of age and suffer no legal disability. I am

competent to make this declaration (the “Declaration”). My testimony herein is based upon my

personal knowledge, unless stated otherwise. If called to testify, I could and would competently

testify to the matters stated herein.

                 14.      I make this Declaration under 28 U.S.C. § 1746 for all permissible purposes

under applicable rules of evidence and procedure in support of the application (the “Application”)



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable are: Kabbage, Inc. d/b/a KServicing (3937); Kabbage Canada Holdings, LLC (N/A); Kabbage
Asset Securitization LLC (N/A); Kabbage Asset Funding 2017-A LLC (4803); Kabbage Asset Funding 2019-A LLC
(8973); and Kabbage Diameter, LLC (N/A). Kabbage is a trademark of American Express used under license;
Kabbage, Inc. d/b/a KServicing is not affiliated with American Express. The Debtors’ mailing and service address is
925B Peachtree Street NE, Suite 383, Atlanta, GA 30309.
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of the above-captioned debtors and debtors in possession pursuant to section 327(e) of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1 and 2016-1 of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and consistent with the U.S. Trustee Guidelines, requesting entry

of an order (i) authorizing the Debtors to employ and retain Jones Day as special counsel to the

Debtors effective as of the Petition Date and (ii) granting certain related relief.2

                    15.      I am the General Counsel and Secretary of Kabbage, Inc. d/b/a KServicing

(“KServicing” or the “Company”). In my current role, I am responsible for supervising outside

counsel and monitoring and managing legal fees and expenses.

                                             Retention of Jones Day

                    16.      Since March 2022, Jones Day has represented the Debtors in connection

with the Federal Investigations. Over the course of the engagement, Jones Day attorneys have

worked closely with the Debtors’ management and, as a result, have acquired extensive knowledge

of the Debtors’ history, investigation needs, and related matters.

                    17.      Jones Day is one of the largest law firms in the world, with a national and

international practice, and has substantial experience serving as defense and investigative counsel.

Its investigation and white collar practice group consists of more than 160 attorneys who handle

complex, high stakes, large-scale, and multi-jurisdictional investigation matters for clients in

various industries. Many of these lawyers have previously served in high-ranking legal and

enforcement government positions, leading prosecution teams investigating an array of

allegations, and thus regularly play a leading role in significant investigations. Accordingly, Jones


2
    Capitalized terms not otherwise defined herein shall have the meanings given to them in the Application.

                                                           2
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Day is well qualified to serve as the Debtors’ special counsel in connection with the Federal

Investigations.

                                          Rate Structure

                  18.   Jones Day has informed the Debtors that their hourly rates to be charged in

these Chapter 11 Cases are comparable to those charged by attorneys of similar experience and

expertise for engagements of the scope and complexity similar to the investigation matters handled

by Jones Day. Further, Jones Day professionals are subject to the same client-driven market forces,

scrutiny, and accountability as its professionals in non-bankruptcy engagements.           Having

substantial experience with law firms, and having previously reviewed invoices from other

similarly-sized firms, I can verify that the rates being charged by Jones Day in connection with

this representation are within the range typically charged by similar firms in similarly complex

matters.

                                         Cost Supervision

                  19.   The Debtors and Jones Day expect to develop a prospective budget and

staffing plan for the services Jones Day will perform as special counsel with respect to these

Chapter 11 Cases recognizing that, during the course of these Chapter 11 Cases, it is possible that

there may be issues or disputes that create the need for additional fees and expenses charged by

Jones Day. The Debtors further recognize that it is their responsibility to monitor closely the

billing practices of their counsel to ensure the fees and expenses paid by the estates remain

consistent with the Debtors’ expectations and the exigencies of these Chapter 11 Cases.

The Debtors will continue to review the invoices that Jones Day regularly submits, and, together

with Jones Day, periodically amend the budget and staffing plans as these Chapter 11 Cases

develop.



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               20.    As they did prepetition, the Debtors will continue to closely supervise the

fees and expenses reimbursement process. Jones Day’s fees and expenses will be subject to

review, comment, and objection (if warranted), and Court approval pursuant to interim

compensation procedures that provide for the interim allowance and payment of fees and expenses

during the course of these Chapter 11 Cases. Jones Day’s fees and expenses will be subject to

periodic review on a monthly, interim, and final basis during the course of these Chapter 11 Cases

by the U.S. Trustee, any statutory committee of creditors appointed in these Chapter 11 Cases, as

well as by the Debtors.




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                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

 Dated: October 14, 2022
        Atlanta, Georgia


                                                KABBAGE, INC. d/b/a KSERVICING, et al.
                                                (on behalf of itself and each of its affiliated
                                                Debtors)

                                                /s/ Holly Loiseau
                                                Name: Holly Loiseau
                                                Title: General Counsel and Secretary
